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                            Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 2 of 60 PageID #:215




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Search Request: Left Anchored Name = interfocus
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                                                          1 26 51 76 101 126 ... 476


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           Name                                                                                                       Copyright
   #                                                     Full Title                                                                 Date
        (NALL) <                                                                                                       Number
       Interfocus 1-11123339704_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001460127 2022
[1]    Inc        photographs]
       Interfocus    1-11123714409_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001460084 2022
[2]    Inc           photographs]
       Interfocus    1-11140687531_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001460081 2022
[3]    Inc           photographs]
       Interfocus    1-11143248701_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001460064 2022
[4]    Inc           photographs]
       Interfocus    1-11143248750_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001460063 2022
[5]    Inc           photographs]
       Interfocus    1-11143264461_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001460131 2022
[6]    Inc           photographs]
       Interfocus    1-11143265104_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001460087 2022
[7]    Inc           photographs]
                         Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 3 of 60 PageID #:216
       Interfocus   1-11123339651_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750   VAu001460387 2022
[8]    Inc          photographs]
       Interfocus   1-11142258001_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001460376 2022
[9]    Inc          photographs]
       Interfocus   1-11123813382_2022PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002291483 2022
[ 10 ] Inc          photographs. 2022-01-01 to 2022-01-20]
       Interfocus   1-11142582090_2022PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002291495 2022
[ 11 ] Inc          photographs. 2022-01-01 to 2022-01-27]
       Interfocus   1-11143248601_2022PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002291481 2022
[ 12 ] Inc          photographs. 2022-01-01 to 2022-01-28]
       Interfocus   1-11143248828_2022PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002291494 2022
[ 13 ] Inc          photographs. 2022-01-01 to 2022-01-28]
       Interfocus   1-11176382111_2022PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002292480 2022
[ 14 ] Inc          photographs. 2022-01-01 to 2022-02-11]
       Interfocus   1-11176511621_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001462265 2022
[ 15 ] Inc          photographs]
       Interfocus   1-11186334361_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001462269 2022
[ 16 ] Inc          photographs]
       Interfocus   1-11176332336_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001462602 2022
[ 17 ] Inc          photographs]
       Interfocus   1-11176382145_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001462744 2022
[ 18 ] Inc          photographs]
       Interfocus   1-11190230041_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001463139 2022
[ 19 ] Inc          photographs]
       Interfocus   1-11198673891_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001463243 2022
[ 20 ] Inc          photographs]
       Interfocus   1-11205357061_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001463251 2022
[ 21 ] Inc          photographs]
       Interfocus   1-11215961481_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001463247 2022
[ 22 ] Inc          photographs]
       Interfocus   1-11216506292_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001463252 2022
[ 23 ] Inc          photographs]
       Interfocus   1-11230936991_2022PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002294811 2022
[ 24 ] Inc          photographs. 2022-02-27 to 2022-03-06]
                             Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 4 of 60 PageID #:217
       Interfocus       1-11230937326_2022PATPAT_Published_750. [Group registration of published photographs. 750     VA0002294814 2022
[ 25 ] Inc              photographs. 2022-01-01 to 2022-03-04]

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           Name                                                                                                       Copyright
   #                                                      Full Title                                                                Date
        (NALL) <                                                                                                       Number
       Interfocus 1-11198697831_2022PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                     VA0002294950 2022
[ 26 ] Inc        photographs. 2022-01-08 to 2022-02-14]
       Interfocus 1-11198697885_2022PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                     VA0002294949 2022
[ 27 ] Inc        photographs. 2022-02-13 to 2022-02-19]
       Interfocus    1-11216571352_2022PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                     VA0002294948 2022
[ 28 ] Inc           photographs. 2022-02-14 to 2022-02-25]
       Interfocus    1-11198674216_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001463592 2022
[ 29 ] Inc           photographs]
       Interfocus    1-11229897496_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001464251 2022
[ 30 ] Inc           photographs]
       Interfocus    1-11229822241_2022PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001464544 2022
[ 31 ] Inc           photographs]
       Interfocus    1-11067440071_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001455221 2022
[ 32 ] Inc           photographs]
                         Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 6 of 60 PageID #:219
       Interfocus   1-11092126945_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750   VAu001455222 2022
[ 33 ] Inc          photographs]
       Interfocus   1-11107740321_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001455220 2022
[ 34 ] Inc          photographs]
       Interfocus   1-10667331599_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002263736 2021
[ 35 ] Inc          photographs. 2021-01-02 to 2021-07-16]
       Interfocus   1-10663943131_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002263984 2021
[ 36 ] Inc          photographs. 2021-05-25 to 2021-07-15]
       Interfocus   1-10667331554_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002263983 2021
[ 37 ] Inc          photographs. 2021-03-24 to 2021-07-13]
       Interfocus   1-10667331876_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002263982 2021
[ 38 ] Inc          photographs. 2021-01-05 to 2021-07-16]
       Interfocus
                    Animal F2106044 and 9 Other Unpublished Works.                                                  VAu001441131 2021
[ 39 ] Inc
       Interfocus
                    Decorate F2105095 and 9 Other Unpublished Works.                                                VAu001441132 2021
[ 40 ] Inc
       Interfocus
                    Festival and traffic F2105002 and 9 Other Unpublished Works.                                    VAu001441133 2021
[ 41 ] Inc
       Interfocus
                    Letter and animal F2105115 and 9 Other Unpublished Works.                                       VAu001441130 2021
[ 42 ] Inc
       Interfocus   1-10528851241_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002255936 2021
[ 43 ] Inc          photographs. 2021-03-16 to 2021-06-01]
       Interfocus   1-10528851358_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002255941 2021
[ 44 ] Inc          photographs. 2021-03-10 to 2021-05-28]
       Interfocus   1-10529119291_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002255920 2021
[ 45 ] Inc          photographs. 2021-02-06 to 2021-06-01]
       Interfocus
                    MAY18SW1255-01(384396) and 7 Other Unpublished Works.                                           VAu001426966 2021
[ 46 ] Inc
       Interfocus   1-9882786761_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001420669 2021
[ 47 ] Inc          photographs]
       Interfocus   1-9882786791_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001420674 2021
[ 48 ] Inc          photographs]
       Interfocus   1-9882786819_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001420698 2021
[ 49 ] Inc          photographs]
                             Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 7 of 60 PageID #:220
       Interfocus       1-9882786847_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750   VAu001420699 2021
[ 50 ] Inc              photographs]

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             Name                                                                                                       Copyright
   #                                                                   Full Title                                                     Date
           (NALL) <                                                                                                      Number
                          1-9882786875_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001420700    2021
[ 51 ]                    750 photographs]
                          1-10104638774_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001420719    2021
[ 52 ]                    750 photographs]
                          1-9896315381_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001421254    2021
[ 53 ]                    750 photographs]
                          1-10008726480_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001421392    2021
[ 54 ]                    750 photographs]

         Interfocus Inc SE19SSXY07-210(433046) and 9 Other Unpublished Works.                                         VAu001423193    2021
[ 55 ]

         Interfocus Inc PJ18SSZYJ02-003-1(345194) and 5 Other Unpublished Works.                                      VAu001423204    2021
[ 56 ]
                          1-10008726452_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001418508    2021
[ 57 ]                    750 photographs]
                           Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 9 of 60 PageID #:222
         Interfocus Inc 1-10008517311_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.     VAu001418610   2021
[ 58 ]                  750 photographs]
                          1-10008517368_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001418608   2021
[ 59 ]                    750 photographs]
                          1-10008517396_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001418611   2021
[ 60 ]                    750 photographs]
                          1-10008726424_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001418612   2021
[ 61 ]                    750 photographs]
                          1-10005732306_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001419522   2021
[ 62 ]                    750 photographs]
                          1-10005907617_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001419524   2021
[ 63 ]                    750 photographs]
                          1-10067206851_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001419535   2021
[ 64 ]                    750 photographs]
                          1-10005765011_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001419656   2021
[ 65 ]                    750 photographs]
                          1-10008517340_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001419669   2021
[ 66 ]                    750 photographs]
                          1-10104611971_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001419667   2021
[ 67 ]                    750 photographs]
                          1-10104638606_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001419668   2021
[ 68 ]                    750 photographs]
                          1-10104638629_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001419666   2021
[ 69 ]                    750 photographs]
                          1-10104638680_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001419665   2021
[ 70 ]                    750 photographs]
                          1-10104638704_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001419664   2021
[ 71 ]                    750 photographs]
                          1-10104638657_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001420329   2021
[ 72 ]                    750 photographs]
                          1-10104638727_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001420322   2021
[ 73 ]                    750 photographs]
                          1-10104638750_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs.
         Interfocus Inc                                                                                               VAu001420328   2021
[ 74 ]                    750 photographs]
                           Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 10 of 60 PageID #:223
         Interfocus Inc 1-10104638581_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs.   VAu001420481       2021
[ 75 ]                  750 photographs]

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             Name                                                                                                  Copyright
   #                                                       Full Title                                                            Date
          (NALL) <                                                                                                  Number
         Interfocus 1-10664287456_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002266892 2021
[ 76 ]   Inc        photographs. 2021-05-26 to 2021-07-14]
         Interfocus   1-10664287496_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002267031 2021
[ 77 ]   Inc          photographs. 2021-05-31 to 2021-07-12]
         Interfocus   1-10664287529_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002266891 2021
[ 78 ]   Inc          photographs. 2021-01-05 to 2021-07-13]
         Interfocus   1-10664287561_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002267023 2021
[ 79 ]   Inc          photographs. 2021-01-23 to 2021-05-07]
         Interfocus   1-10664287594_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002266896 2021
[ 80 ]   Inc          photographs. 2021-03-17 to 2021-05-25]
         Interfocus   1-10664287644_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002267307 2021
[ 81 ]   Inc          photographs. 2021-04-04 to 2021-06-15]
         Interfocus   1-10667331783_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002266894 2021
[ 82 ]   Inc          photographs. 2021-01-07 to 2021-06-29]
                          Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 12 of 60 PageID #:225
         Interfocus   1-10667331829_2021PATPAT_Published_750. [Group registration of published photographs. 750   VA0002267312 2021
[ 83 ]   Inc          photographs. 2021-01-05 to 2021-06-29]
         Interfocus   1-10687420544_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002267284 2021
[ 84 ]   Inc          photographs. 2021-01-15 to 2021-05-20]
         Interfocus   1-10755759721_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002267593 2021
[ 85 ]   Inc          photographs. 2021-01-05 to 2021-08-06]
         Interfocus   1-10759616231_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002267608 2021
[ 86 ]   Inc          photographs. 2021-01-11 to 2021-04-18]
         Interfocus   1-10759861881_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002267609 2021
[ 87 ]   Inc          photographs. 2021-01-27 to 2021-08-10]
         Interfocus   1-10786979835_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002267598 2021
[ 88 ]   Inc          photographs. 2021-01-05 to 2021-08-05]
         Interfocus   1-10717702124_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002269066 2021
[ 89 ]   Inc          photographs. 2021-01-14 to 2021-07-30]
         Interfocus   1-10717777540_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002269068 2021
[ 90 ]   Inc          photographs. 2021-01-25 to 2021-06-29]
         Interfocus   1-10717777431_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002269273 2021
[ 91 ]   Inc          photographs. 2021-01-05 to 2021-07-31]
         Interfocus   1-10821948229_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001445209 2021
[ 92 ]   Inc          photographs]
         Interfocus   1-10831692241_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001445204 2021
[ 93 ]   Inc          photographs]
         Interfocus   1-10831692276_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001445206 2021
[ 94 ]   Inc          photographs]
         Interfocus   1-10831799511_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001445211 2021
[ 95 ]   Inc          photographs]
         Interfocus   1-10831799544_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001445212 2021
[ 96 ]   Inc          photographs]
         Interfocus   1-10848535631_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001445563 2021
[ 97 ]   Inc          photographs]
         Interfocus   1-10848535663_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001445561 2021
[ 98 ]   Inc          photographs]
         Interfocus   1-10850681311_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001445558 2021
[ 99 ]   Inc          photographs]
                             Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 13 of 60 PageID #:226
        Interfocus       1-10850848021_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750 VAu001445560 2021
[ 100 ] Inc              photographs]

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            Name                                                                                                   Copyright
   #                                                      Full Title                                                             Date
         (NALL) <                                                                                                   Number
        Interfocus 1-10622550695_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002259775 2021
[ 101 ] Inc        photographs. 2021-05-05 to 2021-06-22]
        Interfocus 1-10650081281_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002259774 2021
[ 102 ] Inc        photographs. 2021-01-02 to 2021-06-29]
        Interfocus    1-10619317791_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002261164 2021
[ 103 ] Inc           photographs. 2021-04-01 to 2021-07-01]
        Interfocus    1-10622400271_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002261011 2021
[ 104 ] Inc           photographs. 2021-01-02 to 2021-07-02]
        Interfocus    1-10650227766_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002261156 2021
[ 105 ] Inc           photographs. 2021-01-08 to 2021-07-08]
        Interfocus    1-10650235296_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002261159 2021
[ 106 ] Inc           photographs. 2021-01-01 to 2021-05-28]
        Interfocus    1-10640990254_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002261342 2021
[ 107 ] Inc           photographs. 2021-01-19 to 2021-07-06]
                         Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 15 of 60 PageID #:228
        Interfocus   1-10640990161_2021PATPAT_Published_750. [Group registration of published photographs. 750   VA0002261406 2021
[ 108 ] Inc          photographs. 2021-04-20 to 2021-07-04]
        Interfocus   1-10650235341_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002261403 2021
[ 109 ] Inc          photographs. 2021-02-01 to 2021-03-01]
        Interfocus   1-10651315427_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002261405 2021
[ 110 ] Inc          photographs. 2021-03-01 to 2021-03-29]
        Interfocus   1-10651315500_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002261404 2021
[ 111 ] Inc          photographs. 2021-01-09 to 2021-07-10]
        Interfocus   1-10663943315_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002261569 2021
[ 112 ] Inc          photographs. 2021-04-09 to 2021-07-09]
        Interfocus   1-10667331922_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002261584 2021
[ 113 ] Inc          photographs. 2021-02-11 to 2021-06-18]
        Interfocus   1-10640990193_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002261934 2021
[ 114 ] Inc          photographs. 2021-04-20 to 2021-07-06]
        Interfocus   1-10650235384_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002262011 2021
[ 115 ] Inc          photographs. 2021-02-02 to 2021-03-29]
        Interfocus   1-10650235252_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                   VAu001438928 2021
[ 116 ] Inc          photographs]
        Interfocus   1-10577407701_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002262269 2021
[ 117 ] Inc          photographs. 2021-01-05 to 2021-06-15]
        Interfocus   1-10577407747_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002262267 2021
[ 118 ] Inc          photographs. 2021-02-01 to 2021-06-16]
        Interfocus   1-10577407791_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002262266 2021
[ 119 ] Inc          photographs. 2021-01-11 to 2021-06-17]
        Interfocus   1-10577407838_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002262270 2021
[ 120 ] Inc          photographs. 2021-04-05 to 2021-06-18]
        Interfocus   1-10641318831_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002262268 2021
[ 121 ] Inc          photographs. 2021-01-25 to 2021-07-08]
        Interfocus   1-10650227621_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002262261 2021
[ 122 ] Inc          photographs. 2021-04-02 to 2021-07-07]
        Interfocus   1-10619245911_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                   VAu001439052 2021
[ 123 ] Inc          photographs]
        Interfocus   1-10667331511_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                   VAu001439819 2021
[ 124 ] Inc          photographs]
                             Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 16 of 60 PageID #:229
        Interfocus       1-10731620625_2021PATPAT_Published_750. [Group registration of published photographs. 750     VA0002266573 2021
[ 125 ] Inc              photographs. 2021-01-11 to 2021-06-15]

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         (NALL) <                                                                                                   Number
        Interfocus 1-10731620657_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002266580 2021
[ 126 ] Inc        photographs. 2021-03-25 to 2021-06-01]
        Interfocus 1-10731620688_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002266582 2021
[ 127 ] Inc        photographs. 2021-03-30 to 2021-06-25]
        Interfocus    1-10712522121_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002266425 2021
[ 128 ] Inc           photographs. 2021-01-05 to 2021-06-22]
        Interfocus    1-10712522203_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002266428 2021
[ 129 ] Inc           photographs. 2021-01-26 to 2021-07-30]
        Interfocus    1-10712522249_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002266532 2021
[ 130 ] Inc           photographs. 2021-03-30 to 2021-06-01]
        Interfocus    1-10717701919_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002266959 2021
[ 131 ] Inc           photographs. 2021-01-09 to 2021-05-25]
        Interfocus    1-10793462471_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002267207 2021
[ 132 ] Inc           photographs. 2021-01-07 to 2021-08-06]
                         Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 18 of 60 PageID #:231
        Interfocus   1-10793462517_2021PATPAT_Published_750. [Group registration of published photographs. 750   VA0002267206 2021
[ 133 ] Inc          photographs. 2021-01-05 to 2021-08-11]
        Interfocus   1-10793462832_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267205 2021
[ 134 ] Inc          photographs. 2021-01-12 to 2021-08-13]
        Interfocus   1-10793462868_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267204 2021
[ 135 ] Inc          photographs. 2021-07-28 to 2021-08-23]
        Interfocus   1-10799559415_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267203 2021
[ 136 ] Inc          photographs. 2021-01-25 to 2021-08-19]
        Interfocus   1-10596141521_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267333 2021
[ 137 ] Inc          photographs. 2021-02-01 to 2021-06-17]
        Interfocus   1-10596141552_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267332 2021
[ 138 ] Inc          photographs. 2021-04-08 to 2021-06-21]
        Interfocus   1-10596141603_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267336 2021
[ 139 ] Inc          photographs. 2021-01-11 to 2021-06-21]
        Interfocus   1-10596141635_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267335 2021
[ 140 ] Inc          photographs. 2021-02-24 to 2021-06-24]
        Interfocus   1-10686872368_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002266426 2021
[ 141 ] Inc          photographs. 2021-02-23 to 2021-06-14]
        Interfocus   1-10793178343_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267229 2021
[ 142 ] Inc          photographs. 2021-01-08 to 2021-08-13]
        Interfocus   1-10793178380_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267282 2021
[ 143 ] Inc          photographs. 2021-01-18 to 2021-07-16]
        Interfocus   1-10793462436_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267289 2021
[ 144 ] Inc          photographs. 2021-03-31 to 2021-08-11]
        Interfocus   1-10798932466_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267286 2021
[ 145 ] Inc          photographs. 2021-01-08 to 2021-08-25]
        Interfocus   1-10798995722_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267269 2021
[ 146 ] Inc          photographs. 2021-03-15 to 2021-08-25]
        Interfocus   1-10798995777_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267259 2021
[ 147 ] Inc          photographs. 2021-04-06 to 2021-08-25]
        Interfocus   1-10798995832_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267265 2021
[ 148 ] Inc          photographs. 2021-03-15 to 2021-08-25]
        Interfocus   1-10799406051_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267290 2021
[ 149 ] Inc          photographs. 2021-02-01 to 2021-06-15]
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        Interfocus       1-10799406118_2021PATPAT_Published_750. [Group registration of published photographs. 750     VA0002267291 2021
[ 150 ] Inc              photographs. 2021-01-04 to 2021-08-09]

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   #                                                      Full Title                                                             Date
         (NALL) <                                                                                                   Number
        Interfocus 1-10799559552_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002267292 2021
[ 151 ] Inc        photographs. 2021-05-05 to 2021-08-23]
        Interfocus 1-10799638836_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002267222 2021
[ 152 ] Inc        photographs. 2021-06-18 to 2021-08-19]
        Interfocus    1-10799638945_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002267274 2021
[ 153 ] Inc           photographs. 2021-07-08 to 2021-08-24]
        Interfocus    1-10622550581_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002267449 2021
[ 154 ] Inc           photographs. 2021-04-26 to 2021-06-30]
        Interfocus    1-10687420575_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002266791 2021
[ 155 ] Inc           photographs. 2021-02-28 to 2021-06-07]
        Interfocus    1-10689191464_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002266676 2021
[ 156 ] Inc           photographs. 2021-02-23 to 2021-07-13]
        Interfocus    1-10689191660_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002266410 2021
[ 157 ] Inc           photographs. 2021-02-15 to 2021-06-20]
                         Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 21 of 60 PageID #:234
        Interfocus   1-10695428272_2021PATPAT_Published_750. [Group registration of published photographs. 750   VA0002266527 2021
[ 158 ] Inc          photographs. 2021-03-29 to 2021-06-07]
        Interfocus   1-10712522313_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002266422 2021
[ 159 ] Inc          photographs. 2021-04-02 to 2021-05-26]
        Interfocus   1-10717701851_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002266770 2021
[ 160 ] Inc          photographs. 2021-01-30 to 2021-07-30]
        Interfocus   1-10717701885_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002266416 2021
[ 161 ] Inc          photographs. 2021-01-04 to 2021-07-17]
        Interfocus   1-10793462901_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                   VAu001443264 2021
[ 162 ] Inc          photographs]
        Interfocus   1-10798932431_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267347 2021
[ 163 ] Inc          photographs. 2021-05-06 to 2021-08-23]
        Interfocus   1-10799638871_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267346 2021
[ 164 ] Inc          photographs. 2021-07-08 to 2021-08-24]
        Interfocus   1-10663943163_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002266619 2021
[ 165 ] Inc          photographs. 2021-04-17 to 2021-07-13]
        Interfocus   1-10687420421_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267295 2021
[ 166 ] Inc          photographs. 2021-01-07 to 2021-06-17]
        Interfocus   1-10695428241_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267293 2021
[ 167 ] Inc          photographs. 2021-03-29 to 2021-05-25]
        Interfocus   1-10712522344_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002266419 2021
[ 168 ] Inc          photographs. 2021-04-04 to 2021-06-24]
        Interfocus   1-10759747136_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267596 2021
[ 169 ] Inc          photographs. 2021-01-15 to 2021-05-25]
        Interfocus   1-10667331705_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002268140 2021
[ 170 ] Inc          photographs. 2021-01-09 to 2021-07-09]
        Interfocus   1-10717701751_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267974 2021
[ 171 ] Inc          photographs. 2021-02-23 to 2021-07-23]
        Interfocus   1-10717702061_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002267962 2021
[ 172 ] Inc          photographs. 2021-01-04 to 2021-07-23]
        Interfocus   1-10664287426_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002266906 2021
[ 173 ] Inc          photographs. 2021-05-23 to 2021-07-09]
        Interfocus   1-11205428732_2021PATPAT_Published_72. [Group registration of published photographs. 72
                                                                                                                 VA0002289508 2021
[ 174 ] Inc          photographs. 2021-04-07 to 2021-10-11]
                             Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 22 of 60 PageID #:235
        Interfocus       1-11107836051_2021PATPAT_Published_750. [Group registration of published photographs. 750     VA0002290222 2021
[ 175 ] Inc              photographs. 2021-09-11 to 2021-12-30]

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        Interfocus 1-10878575831_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002274986 2021
[ 176 ] Inc        photographs. 2021-05-17 to 2021-09-26]
        Interfocus 1-10911996951_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                 VAu001448420 2021
[ 177 ] Inc        photographs]
        Interfocus    1-10927844874_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002278507 2021
[ 178 ] Inc           photographs. 2021-08-11 to 2021-10-21]
        Interfocus    1-10927844751_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002279379 2021
[ 179 ] Inc           photographs. 2021-07-12 to 2021-10-19]
        Interfocus    1-10927844792_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002279364 2021
[ 180 ] Inc           photographs. 2021-06-15 to 2021-10-21]
        Interfocus    1-10935994560_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002279384 2021
[ 181 ] Inc           photographs. 2021-07-28 to 2021-10-18]
        Interfocus    1-10935994614_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002279363 2021
[ 182 ] Inc           photographs. 2021-06-24 to 2021-10-20]
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        Interfocus   1-10962082541_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750 VAu001452808 2021
[ 183 ] Inc          photographs]
        Interfocus   1-10944593271_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                   VAu001453035 2021
[ 184 ] Inc          photographs]
        Interfocus   1-10962082574_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                   VAu001453036 2021
[ 185 ] Inc          photographs]
        Interfocus
                     PatPat - Kids & Baby Clothing (iOS)                                                         TX0009059117 2021
[ 186 ] Inc
        Interfocus
                     PatPat - Kids & Baby Clothing (Android)                                                     TX0009059125 2021
[ 187 ] Inc
        Interfocus   1-10821947831_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002272420 2021
[ 188 ] Inc          photographs. 2021-02-08 to 2021-09-03]
        Interfocus   1-10821947918_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002272417 2021
[ 189 ] Inc          photographs. 2021-01-25 to 2021-09-03]
        Interfocus   1-10821948194_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002272416 2021
[ 190 ] Inc          photographs. 2021-04-07 to 2021-09-03]
        Interfocus   1-10831799576_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002272413 2021
[ 191 ] Inc          photographs. 2021-04-11 to 2021-09-08]
        Interfocus   1-10831799621_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002272412 2021
[ 192 ] Inc          photographs. 2021-06-27 to 2021-09-09]
        Interfocus   1-10831799711_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002272409 2021
[ 193 ] Inc          photographs. 2021-08-05 to 2021-09-09]
        Interfocus   1-10831799744_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002272410 2021
[ 194 ] Inc          photographs. 2021-08-08 to 2021-09-08]
        Interfocus   1-10878600016_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                   VAu001446588 2021
[ 195 ] Inc          photographs]
        Interfocus
                     Letter F2104011 and 7 Other Unpublished Works.                                              VAu001446811 2021
[ 196 ] Inc
        Interfocus   1-10850848052_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002273654 2021
[ 197 ] Inc          photographs. 2021-03-04 to 2021-09-13]
        Interfocus   1-10850989786_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002273658 2021
[ 198 ] Inc          photographs. 2021-08-23 to 2021-09-16]
        Interfocus   1-10717777506_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002273785 2021
[ 199 ] Inc          photographs. 2021-01-03 to 2021-07-30]
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        Interfocus       1-10848536102_2021PATPAT_Published_750. [Group registration of published photographs. 750     VA0002273862 2021
[ 200 ] Inc              photographs. 2021-01-06 to 2021-09-09]

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   #                                                      Full Title                                                             Date
         (NALL) <                                                                                                   Number
        Interfocus 1-10848536177_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002273863 2021
[ 201 ] Inc        photographs. 2021-04-06 to 2021-09-08]
        Interfocus 1-10848536259_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002273852 2021
[ 202 ] Inc        photographs. 2021-07-26 to 2021-09-09]
        Interfocus    1-10848568603_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002273854 2021
[ 203 ] Inc           photographs. 2021-08-14 to 2021-09-16]
        Interfocus    1-10850989705_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002273861 2021
[ 204 ] Inc           photographs. 2021-08-09 to 2021-09-15]
        Interfocus    1-10851092307_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002273853 2021
[ 205 ] Inc           photographs. 2021-05-20 to 2021-09-16]
        Interfocus    1-10851092343_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002273850 2021
[ 206 ] Inc           photographs. 2021-07-09 to 2021-09-09]
        Interfocus    1-10851122531_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002273851 2021
[ 207 ] Inc           photographs. 2021-08-26 to 2021-09-17]
                         Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 27 of 60 PageID #:240
        Interfocus   1-10878575866_2021PATPAT_Published_750. [Group registration of published photographs. 750   VA0002275224 2021
[ 208 ] Inc          photographs. 2021-04-20 to 2021-09-28]
        Interfocus   1-10878599864_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002275225 2021
[ 209 ] Inc          photographs. 2021-04-13 to 2021-09-28]
        Interfocus   1-10878599926_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002275227 2021
[ 210 ] Inc          photographs. 2021-01-17 to 2021-09-23]
        Interfocus   1-10878599960_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002275228 2021
[ 211 ] Inc          photographs. 2021-07-30 to 2021-09-29]
        Interfocus   1-10927821211_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                   VAu001448828 2021
[ 212 ] Inc          photographs]
        Interfocus   1-10911996984_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                   VAu001448933 2021
[ 213 ] Inc          photographs]
        Interfocus   1-10927899161_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                   VAu001449055 2021
[ 214 ] Inc          photographs]
        Interfocus   1-10935979918_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                   VAu001449036 2021
[ 215 ] Inc          photographs]
        Interfocus   1-10911841361_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002276545 2021
[ 216 ] Inc          photographs. 2021-05-17 to 2021-10-12]
        Interfocus   1-10911963438_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002276638 2021
[ 217 ] Inc          photographs. 2021-07-27 to 2021-10-14]
        Interfocus   1-10911963672_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002276650 2021
[ 218 ] Inc          photographs. 2021-09-11 to 2021-10-14]
        Interfocus   1-10911997013_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002276671 2021
[ 219 ] Inc          photographs. 2021-07-01 to 2021-10-14]
        Interfocus   1-10911997048_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002276675 2021
[ 220 ] Inc          photographs. 2021-04-09 to 2021-10-14]
        Interfocus   1-10912008815_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002276652 2021
[ 221 ] Inc          photographs. 2021-04-29 to 2021-10-14]
        Interfocus
                     Animal pattern F210600 and 9 Other Unpublished Works.                                       VAu001441291 2021
[ 222 ] Inc
        Interfocus   1-11067440101_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002290654 2021
[ 223 ] Inc          photographs. 2021-05-26 to 2021-12-23]
        Interfocus   1-11092126911_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                 VA0002290653 2021
[ 224 ] Inc          photographs. 2021-10-25 to 2021-12-23]
                             Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 28 of 60 PageID #:241
        Interfocus       1-11123813341_2021PATPAT_Published_750. [Group registration of published photographs. 750     VA0002291487 2021
[ 225 ] Inc              photographs. 2021-01-13 to 2021-12-31]

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            Name                                                                                                    Copyright
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         (NALL) <                                                                                                    Number
        Interfocus 1-11142582051_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002291496 2021
[ 226 ] Inc        photographs. 2021-02-19 to 2021-12-31]
        Interfocus 1-11232655701_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002294812 2021
[ 227 ] Inc        photographs. 2021-04-21 to 2021-12-26]
        Interfocus    1-10786980383_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001453635 2021
[ 228 ] Inc           photographs]
        Interfocus    1-11092102841_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002282656 2021
[ 229 ] Inc           photographs. 2021-09-02 to 2021-12-23]
        Interfocus    1-10755782388_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002282987 2021
[ 230 ] Inc           photographs. 2021-01-05 to 2021-08-11]
        Interfocus    1-10731620591_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002266569 2021
[ 231 ] Inc           photographs. 2021-01-04 to 2021-08-05]
        Interfocus    1-10731620750_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002283094 2021
[ 232 ] Inc           photographs. 2021-05-21 to 2021-08-04]
                           Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 30 of 60 PageID #:243
        Interfocus     1-10755791426_2021PATPAT_Published_750. [Group registration of published photographs. 750   VA0002283104 2021
[ 233 ] Inc            photographs. 2021-01-04 to 2021-07-30]
        Interfocus     1-10755791471_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                   VA0002283113 2021
[ 234 ] Inc            photographs. 2021-01-08 to 2021-04-12]
        Interfocus     1-10944665591_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                   VA0002283150 2021
[ 235 ] Inc            photographs. 2021-05-19 to 2021-10-26]
        Interfocus     1-10944686894_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                   VA0002283152 2021
[ 236 ] Inc            photographs. 2021-08-01 to 2021-10-28]
        Interfocus     1-10962082606_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                   VA0002283151 2021
[ 237 ] Inc            photographs. 2021-06-28 to 2021-11-04]
                       1-10686872221_2021PATPAT_Published_750. [Group registration of published photographs. 750
          Interfocus                                                                                               VA0002283599 2021
[ 238 ]                photographs. 2021-01-25 to 2021-06-29]
        Interfocus     1-10978181001_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001454833 2021
[ 239 ] Inc            photographs]
        Interfocus     1-10978181032_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                   VA0002284943 2021
[ 240 ] Inc            photographs. 2021-07-30 to 2021-11-11]
        Interfocus     1-10982438424_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                   VA0002284944 2021
[ 241 ] Inc            photographs. 2021-07-02 to 2021-11-10]
        Interfocus     1-10993953091_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001454834 2021
[ 242 ] Inc            photographs]
        Interfocus     1-10993953125_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001454836 2021
[ 243 ] Inc            photographs]
        Interfocus     1-10994282681_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001454831 2021
[ 244 ] Inc            photographs]
        Interfocus     1-10994282721_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001454832 2021
[ 245 ] Inc            photographs]
        Interfocus     1-10994326771_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                   VA0002284946 2021
[ 246 ] Inc            photographs. 2021-01-16 to 2021-11-18]
        Interfocus     1-10978209801_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001455243 2021
[ 247 ] Inc            photographs]
        Interfocus     1-11007436131_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001455239 2021
[ 248 ] Inc            photographs]
        Interfocus     1-11022126071_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001455233 2021
[ 249 ] Inc            photographs]
                             Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 31 of 60 PageID #:244
        Interfocus       1-11022126101_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750 VAu001455232 2021
[ 250 ] Inc              photographs]

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            Name                                                                                                   Copyright
   #                                                     Full Title                                                           Date
         (NALL) <                                                                                                   Number
        Interfocus 1-11022130981_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                 VAu001455245 2021
[ 251 ] Inc        photographs]
        Interfocus 1-11038197486_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                 VAu001455246 2021
[ 252 ] Inc        photographs]
        Interfocus    1-11038238431_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001455250 2021
[ 253 ] Inc           photographs]
        Interfocus    1-11038238464_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001455257 2021
[ 254 ] Inc           photographs]
        Interfocus    1-11052969721_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001455224 2021
[ 255 ] Inc           photographs]
        Interfocus    1-11052969752_2021PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001455225 2021
[ 256 ] Inc           photographs]
        Interfocus    1-11007436212_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                  VA0002287363 2021
[ 257 ] Inc           photographs. 2021-04-10 to 2021-11-17]
                         Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 33 of 60 PageID #:246
        Interfocus   1-11007473496_2021PATPAT_Published_750. [Group registration of published photographs. 750      VA0002287364 2021
[ 258 ] Inc          photographs. 2021-06-17 to 2021-11-25]
        Interfocus   1-11007515011_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002287366 2021
[ 259 ] Inc          photographs. 2021-07-26 to 2021-11-25]
        Interfocus   1-11007515043_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002287417 2021
[ 260 ] Inc          photographs. 2021-07-16 to 2021-11-21]
        Interfocus   1-11022131014_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002287498 2021
[ 261 ] Inc          photographs. 2021-07-08 to 2021-11-25]
        Interfocus   1-11038238506_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002287844 2021
[ 262 ] Inc          photographs. 2021-05-25 to 2021-12-08]
        Interfocus   1-11038238563_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002287843 2021
[ 263 ] Inc          photographs. 2021-11-05 to 2021-12-09]
        Interfocus   1-11038260478_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002287842 2021
[ 264 ] Inc          photographs. 2021-04-28 to 2021-12-03]
        Interfocus   1-11053257911_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002289431 2021
[ 265 ] Inc          photographs. 2021-01-16 to 2021-12-16]
        Interfocus   1-11053257946_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002289520 2021
[ 266 ] Inc          photographs. 2021-10-09 to 2021-12-16]
        Interfocus   1-11067389841_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002289438 2021
[ 267 ] Inc          photographs. 2021-06-18 to 2021-09-23]
        Interfocus   1-11067389876_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002289480 2021
[ 268 ] Inc          photographs. 2021-07-21 to 2021-10-18]
        Interfocus   1-11067389921_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002289489 2021
[ 269 ] Inc          photographs. 2021-08-03 to 2021-09-14]
        Interfocus   1-11067389964_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002289477 2021
[ 270 ] Inc          photographs. 2021-08-03 to 2021-10-26]
        Interfocus   1-11067389999_2021PATPAT_Published_750. [Group registration of published photographs. 750
                                                                                                                    VA0002289466 2021
[ 271 ] Inc          photographs. 2021-08-31 to 2021-12-21]
        Interfocus   1-9247709665_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001407511 2020
[ 272 ] Inc          photographs]
        Interfocus   1-9247709693_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001407508 2020
[ 273 ] Inc          photographs]
        Interfocus
                     Spooky halloween and 9 Other Unpublished Works.                                                VAu001407824 2020
[ 274 ] Inc
                             Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 34 of 60 PageID #:247
        Interfocus       Halloween night 1 and 9 Other Unpublished Works.                                             VAu001407822 2020
[ 275 ] Inc

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          Interfocus Inc Santa and snowman printing texture 1 and 9 Other Unpublished Works.                          VAu001407823    2020
[ 276 ]
                           1-9246962889_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001407825    2020
[ 277 ]                    750 photographs]
                           1-9246962997_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001407831    2020
[ 278 ]                    750 photographs]
                           1-9246963025_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001407829    2020
[ 279 ]                    750 photographs]
                           1-9246963383_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001407827    2020
[ 280 ]                    750 photographs]
                           1-9247709511_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001407826    2020
[ 281 ]                    750 photographs]
                           1-9247709579_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001407828    2020
[ 282 ]                    750 photographs]
                          Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 36 of 60 PageID #:249
          Interfocus Inc Fawn is here and 9 Other Unpublished Works.                                                  VAu001408097   2020
[ 283 ]

          Interfocus Inc Merry Christmas 1 and 9 Other Unpublished Works.                                             VAu001408098   2020
[ 284 ]

          Interfocus Inc Is christmas! and 9 Other Unpublished Works.                                                 VAu001408099   2020
[ 285 ]

          Interfocus Inc Halloween street sign and 9 Other Unpublished Works.                                         VAu001408100   2020
[ 286 ]

          Interfocus Inc Christmas winter night and 9 Other Unpublished Works.                                        VAu001408441   2020
[ 287 ]

          Interfocus Inc Little miss sassy pants 2 and 9 Other Unpublished Works.                                     VAu001408443   2020
[ 288 ]

          Interfocus Inc Sweet baby and 8 Other Unpublished Works.                                                    VAu001408258   2020
[ 289 ]

          Interfocus Inc Mr.Skull and 9 Other Unpublished Works.                                                      VAu001409302   2020
[ 290 ]

          InterFocus Inc Elk carrying a christmas cabin and 8 Other Unpublished Works.                                VAu001411757   2020
[ 291 ]
                           1-9818017981_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001413252   2020
[ 292 ]                    750 photographs]
                           1-9689127007_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001413382   2020
[ 293 ]                    750 photographs]
                           1-9689127035_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001413383   2020
[ 294 ]                    750 photographs]
                           1-9689127083_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001413388   2020
[ 295 ]                    750 photographs]
                           1-9689127141_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001413384   2020
[ 296 ]                    750 photographs]
                           1-9689127189_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001413386   2020
[ 297 ]                    750 photographs]
                           1-8660552125_2020PATPAT_Unpublished_745. [Group registration of unpublished photographs.
          Interfocus                                                                                                  VAu001393434   2020
[ 298 ]                    745 photographs]
                           1-8700916460_2020PATPAT_Unpublished_747. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001396434   2020
[ 299 ]                    747 photographs]
                          Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 37 of 60 PageID #:250
          InterFocus Inc 1-8700916920_2020PATPAT_Unpublished_748. [Group registration of unpublished photographs.   VAu001396436       2020
[ 300 ]                  748 photographs]

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              Name                                                                                                      Copyright
   #                                                                 Full Title                                                       Date
            (NALL) <                                                                                                     Number
                           1-8756305145_2020PATPAT_Unpublished_748. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001397684    2020
[ 301 ]                    748 photographs]
                           1-8756415891_2020PATPAT_Unpublished_745. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001397675    2020
[ 302 ]                    745 photographs]
                           1-8756554746_2020PATPAT_Unpublished_749. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001397679    2020
[ 303 ]                    749 photographs]
                           1-8842212616_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001397642    2020
[ 304 ]                    750 photographs]
                           1-8842212698_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001397674    2020
[ 305 ]                    750 photographs]
                           1-8756504528_2020PATPAT_Unpublished_749. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001397989    2020
[ 306 ]                    749 photographs]
                           1-8700923701_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus                                                                                                  VAu001395773    2020
[ 307 ]                    750 photographs]
                          Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 39 of 60 PageID #:252
          InterFocus Inc 1-8842108951_2020PATPAT_Unpublished_747. [Group registration of unpublished photographs.     VAu001398598   2020
[ 308 ]                  747 photographs]
                           1-8842109264_2020PATPAT_Unpublished_749. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001398743   2020
[ 309 ]                    749 photographs]
                           1-8756554808_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001398854   2020
[ 310 ]                    750 photographs]
                           1-8842143971_2020PATPAT_Unpublished_749. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001398858   2020
[ 311 ]                    749 photographs]
                           1-8756554661_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001399578   2020
[ 312 ]                    750 photographs]
                           1-8756554876_2020PATPAT_Unpublished_749. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001399581   2020
[ 313 ]                    749 photographs]
                           1-8959127581_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001401370   2020
[ 314 ]                    750 photographs]
                           1-8955737333_2020PATPAT_Unpublished_749. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001401808   2020
[ 315 ]                    749 photographs]
                           1-8981344195_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001402233   2020
[ 316 ]                    750 photographs]
                           1-8958940621_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001402299   2020
[ 317 ]                    750 photographs]
                           1-8958940696_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001402298   2020
[ 318 ]                    750 photographs]
                           1-8981117331_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001402335   2020
[ 319 ]                    750 photographs]
                           1-8981117379_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001402311   2020
[ 320 ]                    750 photographs]
                           1-8981344141_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001402241   2020
[ 321 ]                    750 photographs]
                           1-8981465446_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001402238   2020
[ 322 ]                    750 photographs]
                           1-8981465479_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001402652   2020
[ 323 ]                    750 photographs]
                           1-8981465510_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001402651   2020
[ 324 ]                    750 photographs]
                          Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 40 of 60 PageID #:253
          InterFocus Inc 1-8981465550_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.   VAu001402650       2020
[ 325 ]                  750 photographs]

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            (NALL) <                                                                                                     Number
                           1-8981465747_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001402653    2020
[ 326 ]                    750 photographs]
                           1-8981465778_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001402649    2020
[ 327 ]                    750 photographs]
                           1-9041132071_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001403628    2020
[ 328 ]                    750 photographs]
                           1-9035784980_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001403903    2020
[ 329 ]                    750 photographs]
                           1-9041132180_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001403890    2020
[ 330 ]                    750 photographs]
                           1-9108547506_2020PATPAT_Unpublished_705. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001403914    2020
[ 331 ]                    705 photographs]
                           1-9035784951_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001404078    2020
[ 332 ]                    750 photographs]
                          Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 42 of 60 PageID #:255
          Interfocus Inc 1-9108547411_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.     VAu001404039   2020
[ 333 ]                  750 photographs]
                           1-9108547455_2020PATPAT_Unpublished_748. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001404037   2020
[ 334 ]                    748 photographs]
                           1-9108547478_2020PATPAT_Unpublished_747. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001404043   2020
[ 335 ]                    747 photographs]
                           1-9035785008_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001404203   2020
[ 336 ]                    750 photographs]
                           1-9035785036_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001404209   2020
[ 337 ]                    750 photographs]
                           1-9035785064_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001404200   2020
[ 338 ]                    750 photographs]
                           1-9041132258_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001404112   2020
[ 339 ]                    750 photographs]
                           1-9041132357_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001404114   2020
[ 340 ]                    750 photographs]
                           1-9041132396_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          InterFocus Inc                                                                                              VAu001404151   2020
[ 341 ]                    750 photographs]
                           1-9099798295_2020PATPAT_Unpublished_748. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001404100   2020
[ 342 ]                    748 photographs]
                           1-9099798021_2020PATPAT_Unpublished_747. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001404229   2020
[ 343 ]                    747 photographs]
                           1-9099798051_2020PATPAT_Unpublished_748. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001404253   2020
[ 344 ]                    748 photographs]
                           1-9099798079_2020PATPAT_Unpublished_748. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001404249   2020
[ 345 ]                    748 photographs]
                           1-9099798237_2020PATPAT_Unpublished_747. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001404252   2020
[ 346 ]                    747 photographs]
                           1-9099798343_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001404948   2020
[ 347 ]                    750 photographs]
                           1-9155583925_2020PATPAT_Unpublished_745. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001405855   2020
[ 348 ]                    745 photographs]
                           1-9155584123_2020PATPAT_Unpublished_741. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001405787   2020
[ 349 ]                    741 photographs]
                          Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 43 of 60 PageID #:256
          Interfocus Inc 1-9169046541_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.   VAu001407044       2020
[ 350 ]                  750 photographs]

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              Name                                                                                                      Copyright
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            (NALL) <                                                                                                     Number
                           1-9169046729_2020PATPAT_Unpublished_746. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001407038     2020
[ 351 ]                    746 photographs]
                           1-9169046631_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001407087     2020
[ 352 ]                    750 photographs]
                           1-9172986115_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001407088     2020
[ 353 ]                    750 photographs]
                           1-9172986144_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001407119     2020
[ 354 ]                    750 photographs]
                           1-9172986168_2020PATPAT_Unpublished_748. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001407122     2020
[ 355 ]                    748 photographs]
                           1-9173390771_2020PATPAT_Unpublished_747. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001407114     2020
[ 356 ]                    747 photographs]
                           1-9173390846_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001407117     2020
[ 357 ]                    750 photographs]
                          Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 45 of 60 PageID #:258
          Interfocus Inc 1-9173390875_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.     VAu001407241   2020
[ 358 ]                  750 photographs]

          Interfocus Inc Joyful christmas and 9 Other Unpublished Works.                                              VAu001407458   2020
[ 359 ]
                           1-9246962761_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001407517   2020
[ 360 ]                    750 photographs]
                           1-9246962860_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001407512   2020
[ 361 ]                    750 photographs]
                           1-9247709607_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001407500   2020
[ 362 ]                    750 photographs]

          Interfocus Inc 464985 .                                                                                     VA0002268567   2020
[ 363 ]

          Interfocus Inc 464451.                                                                                      VA0002268561   2020
[ 364 ]

          Interfocus Inc 466455-2.                                                                                    VA0002269022   2020
[ 365 ]

          Interfocus Inc 465938 .                                                                                     VA0002264580   2020
[ 366 ]

          Interfocus Inc 465518 .                                                                                     VA0002264576   2020
[ 367 ]

          Interfocus Inc 465417 .                                                                                     VA0002264574   2020
[ 368 ]

          Interfocus Inc 465179 .                                                                                     VA0002264579   2020
[ 369 ]

          Interfocus Inc 463894.                                                                                      VA0002264418   2020
[ 370 ]

          Interfocus Inc 463883.                                                                                      VA0002264448   2020
[ 371 ]

          Interfocus Inc 463797.                                                                                      VA0002264482   2020
[ 372 ]

          Interfocus Inc 463793-1.                                                                                    VA0002264483   2020
[ 373 ]

          Interfocus Inc 463793-2.                                                                                    VA0002264503   2020
[ 374 ]
                          Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 46 of 60 PageID #:259
          Interfocus Inc 463793-3.                                                                                  VA0002264504       2020
[ 375 ]

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          Interfocus Inc 463793-4.                                                                            VA0002264505    2020
[ 376 ]

          Interfocus Inc 463792.                                                                              VA0002264557    2020
[ 377 ]

          Interfocus Inc 463683.                                                                              VA0002264559    2020
[ 378 ]

          Interfocus Inc 463380.                                                                              VA0002264563    2020
[ 379 ]

          Interfocus Inc 463370.                                                                              VA0002264565    2020
[ 380 ]

          Interfocus Inc 463033.                                                                              VA0002264577    2020
[ 381 ]

          Interfocus Inc 462840.                                                                              VA0002264567    2020
[ 382 ]
                          Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 48 of 60 PageID #:261
          Interfocus Inc 462833 .                                                                                     VA0002264569   2020
[ 383 ]

          Interfocus Inc 462802.                                                                                      VA0002264571   2020
[ 384 ]

          Interfocus Inc 462792.                                                                                      VA0002264578   2020
[ 385 ]
                           1-9830119332_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001414143   2020
[ 386 ]                    750 photographs]
                           1-9830119360_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001414134   2020
[ 387 ]                    750 photographs]
                           1-9830119388_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001414141   2020
[ 388 ]                    750 photographs]
                           1-9830119191_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001414201   2020
[ 389 ]                    750 photographs]
                           1-9830119220_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001414199   2020
[ 390 ]                    750 photographs]
                           1-9830119248_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001414202   2020
[ 391 ]                    750 photographs]
                           1-9830119271_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001414200   2020
[ 392 ]                    750 photographs]
                           1-9830119304_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001414205   2020
[ 393 ]                    750 photographs]
                           1-9530520723_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001414289   2020
[ 394 ]                    750 photographs]
                           1-9530520751_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001414288   2020
[ 395 ]                    750 photographs]
                           1-9530520779_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001414287   2020
[ 396 ]                    750 photographs]
                           1-9530520807_2020PATPAT_Unpublished_743. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001414290   2020
[ 397 ]                    743 photographs]
                           1-9528930231_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001414306   2020
[ 398 ]                    750 photographs]
                           1-9528930280_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.
          Interfocus Inc                                                                                              VAu001414327   2020
[ 399 ]                    750 photographs]
                          Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 49 of 60 PageID #:262
          Interfocus Inc 1-9528930309_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs.   VAu001414307       2020
[ 400 ]                  750 photographs]

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         (NALL) <                                                                                                      Number
        Interfocus 1-9528930337_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001414310 2020
[ 401 ] Inc        photographs]
        Interfocus 1-9528930365_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001414303 2020
[ 402 ] Inc        photographs]
        Interfocus    1-9528930370_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001414302 2020
[ 403 ] Inc           photographs]
        Interfocus    1-9530520667_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001414300 2020
[ 404 ] Inc           photographs]
        Interfocus    1-9530520695_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001414301 2020
[ 405 ] Inc           photographs]
        Interfocus    1-9689126771_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001415519 2020
[ 406 ] Inc           photographs]
        Interfocus    1-9834211416_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                     VAu001415710 2020
[ 407 ] Inc           photographs]
                         Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 51 of 60 PageID #:264
        Interfocus   1-9834211464_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750   VAu001415696 2020
[ 408 ] Inc          photographs]
        Interfocus   1-9834211492_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001415705 2020
[ 409 ] Inc          photographs]
        Interfocus   1-9834211520_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001415704 2020
[ 410 ] Inc          photographs]
        InterFocus   1-8958941248_2020PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                    VAu001401365 2020
[ 411 ] Inc          photographs]
        Interfocus   1-11107988760_2020PATPAT_Published_6. [Group registration of published photographs. 6
                                                                                                                    VA0002282931 2020
[ 412 ] Inc          photographs. 2020-06-18 to 2020-06-18]
        Interfocus
                     466605 .                                                                                       VA0002269329 2020
[ 413 ] Inc
        Interfocus   1-11205428701_2020PATPAT_Published_43. [Group registration of published photographs. 43
                                                                                                                    VA0002289507 2020
[ 414 ] Inc          photographs. 2020-01-03 to 2020-07-01]
        Interfocus   1-11092128102_2020PATPAT_Published_29. [Group registration of published photographs. 29
                                                                                                                    VA0002282229 2020
[ 415 ] Inc          photographs. 2020-05-17 to 2020-12-27]
        Interfocus
                     462242.                                                                                        VA0002268783 2020
[ 416 ] Inc
        Interfocus
                     462461 .                                                                                       VA0002268459 2020
[ 417 ] Inc
        Interfocus
                     462476.                                                                                        VA0002268711 2020
[ 418 ] Inc
        Interfocus
                     464973.                                                                                        VA0002266645 2020
[ 419 ] Inc
        Interfocus
                     464665.                                                                                        VA0002266653 2020
[ 420 ] Inc
        Interfocus
                     461915.                                                                                        VA0002266745 2020
[ 421 ] Inc
        Interfocus
                     462488.                                                                                        VA0002266749 2020
[ 422 ] Inc
        Interfocus
                     462706.                                                                                        VA0002266756 2020
[ 423 ] Inc
        Interfocus
                     472447.                                                                                        VA0002266755 2020
[ 424 ] Inc
                            Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 52 of 60 PageID #:265
        Interfocus       464656.                                                                                      VA0002266758 2020
[ 425 ] Inc

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   [ 426 ]              Interfocus Inc                          471206 .                 VA0002266947                      2020
   [ 427 ]              Interfocus Inc                          470929 .                 VA0002266897                      2020
   [ 428 ]              Interfocus Inc                          468502 .                 VA0002266908                      2020
   [ 429 ]              Interfocus Inc                          466975 .                 VA0002266946                      2020
   [ 430 ]              Interfocus Inc                          466625 .                 VA0002266918                      2020
   [ 431 ]              Interfocus Inc                          466606 .                 VA0002266916                      2020
   [ 432 ]              Interfocus Inc                          466455-1 .               VA0002266913                      2020
   [ 433 ]              Interfocus Inc                          466455-4.                VA0002266911                      2020
   [ 434 ]              Interfocus Inc                          471746 .                 VA0002267113                      2020
   [ 435 ]              Interfocus Inc                          470281 .                 VA0002267105                      2020
   [ 436 ]              Interfocus Inc                          466058 .                 VA0002267110                      2020
   [ 437 ]              Interfocus Inc                          470879 .                 VA0002267102                      2020
   [ 438 ]              Interfocus Inc                          468611 .                 VA0002267107                      2020
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   [ 439 ]               Interfocus Inc                          468501 .                       VA0002267319                           2020
   [ 440 ]               Interfocus Inc                          466455-3.                      VA0002267317                           2020
   [ 441 ]               Interfocus Inc                          464566.                        VA0002267111                           2020
   [ 442 ]               Interfocus Inc                          464242.                        VA0002267100                           2020
   [ 443 ]               Interfocus Inc                          464568.                        VA0002267280                           2020
   [ 444 ]               Interfocus Inc                          466763 .                       VA0002268115                           2020
   [ 445 ]               Interfocus Inc                          462251.                        VA0002268461                           2020
   [ 446 ]               Interfocus Inc                          462467.                        VA0002268460                           2020
   [ 447 ]               Interfocus Inc                          462248.                        VA0002268788                           2020
   [ 448 ]               Interfocus Inc                          462474.                        VA0002268782                           2020
   [ 449 ]               Interfocus Inc                          462484.                        VA0002268786                           2020
   [ 450 ]               Interfocus Inc                          471794 .                       VA0002268791                           2020

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         (NALL) <                                                                                               Number
        Interfocus
                   468498 .                                                                                   VA0002268784 2020
[ 451 ] Inc
        Interfocus
                   468485 .                                                                                   VA0002268793 2020
[ 452 ] Inc
        Interfocus
                     467944 .                                                                                 VA0002268816 2020
[ 453 ] Inc
        Interfocus
                     467667 .                                                                                 VA0002268819 2020
[ 454 ] Inc
        Interfocus
                     467595 .                                                                                 VA0002268823 2020
[ 455 ] Inc
        Interfocus
                     468333 .                                                                                 VA0002269056 2020
[ 456 ] Inc
        Interfocus
                     466450 .                                                                                 VA0002268113 2020
[ 457 ] Inc
                            Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 57 of 60 PageID #:270
        Interfocus     466047 .                                                                                       VA0002267796 2020
[ 458 ] Inc
        Interfocus
                       466038 .                                                                                       VA0002268478 2020
[ 459 ] Inc
        Interfocus
                       466035 .                                                                                       VA0002267797 2020
[ 460 ] Inc
        Interfocus     1-11107988691_2019PATPAT_Published_13. [Group registration of published photographs. 13
                                                                                                                      VA0002283332 2019
[ 461 ] Inc            photographs. 2019-12-20 to 2019-12-25]
        InterFocus     1-8228820641_2019PATPAT_Published_0617-1019_747. [Group registration of published photographs.
                                                                                                                      VA0002200795 2019
[ 462 ] Inc            747 photographs. 2019-06-17 to 2019-10-19]
                       1-8466595571_2019PATPAT_Published_0816-1215_677. [Group registration of published photographs.
          Interfocus                                                                                                  VA0002200789 2019
[ 463 ]                677 photographs. 2019-08-16 to 2019-12-15]
        InterFocus     1-8142794001-2019PATPAT_Unpublished_710. [Group registration of unpublished photographs. 710
                                                                                                                      VAu001374958 2019
[ 464 ] Inc            photographs]
        InterFocus     1-8131041553-2019PATPAT_Unpublished_750. [Group registration of unpublished photographs. 750
                                                                                                                      VAu001375022 2019
[ 465 ] Inc            photographs]
        InterFocus     2019PATPAT_Published_0614-0911_743. [Group registration of published photographs. 743
                                                                                                                      VA0002177377 2019
[ 466 ] Inc            photographs. 2019-06-14 to 2019-09-11]
        InterFocus     1-8173124671_2019PATPAT_Published_0816-1008_749. [Group registration of published photographs.
                                                                                                                      VA0002178396 2019
[ 467 ] Inc            749 photographs. 2019-08-19 to 2019-10-05]
        InterFocus     1-8163435041_2019PATPAT_Published_0702-1005_745. [Group registration of published photographs.
                                                                                                                      VA0002178679 2019
[ 468 ] Inc            745 photographs. 2019-07-02 to 2019-10-05]

          InterFocus   Pink and Orange Flowers with Green Leaves Graphic.                                             VA0002133341 2018
[ 469 ]

          InterFocus   Pink Flowers and Palm Tree Leaves Graphic.                                                     VA0002133342 2018
[ 470 ]

          InterFocus   Red Small Fruits with Leaves Textile Design Graphic.                                           VA0002133340 2018
[ 471 ]

          InterFocus   Red Lips Graphic.                                                                              VA0002128090 2018
[ 472 ]

          InterFocus   Red Cherries Graphic.                                                                          VA0002134968 2018
[ 473 ]
                       2018PATPAT_Published_0109-1229_604. [Group registration of published photographs. 604
          InterFocus                                                                                                  VA0002138418 2018
[ 474 ]                photographs. 2018-01-11 to 2018-12-29]
                             Case: 1:22-cv-02259 Document #: 10-11 Filed: 05/03/22 Page 58 of 60 PageID #:271
          InterFocus    2018PATPAT_Published_0111-1229_531. [Group registration of published photographs. 531         VA0002140332 2018
[ 475 ]                 photographs. 2018-01-11 to 2018-12-29]

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                   2018PATPAT_Unpublished_0516-0522. [Group registration of unpublished photographs. 47 photographs] VAu001324305 2018
[ 476 ] Inc
        InterFocus 2018PATPAT_Published_0608-0622_315. [Group registration of published photographs. 315 photographs.
                                                                                                                      VA0002115379 2018
[ 477 ] Inc        2018-06-08 to 2018-06-22]
        InterFocus   2018PATPAT_Published_0608-0622_360. [Group registration of published photographs. 360 photographs.
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[ 478 ] Inc          2018-06-08 to 2018-06-22]
        InterFocus   2018PATPAT_Published_Matching-Swimwear_0108-0420_181. [Group registration of published
                                                                                                                     VA0002115382 2018
[ 479 ] Inc          photographs. 181 photographs. 2018-01-08 to 2018-04-20]

          InterFocus Flowers and Butterflies Graphic.                                                                VA0002120629 2018
[ 480 ]

          InterFocus Small Floral Print Graphic.                                                                     VA0002120632 2018
[ 481 ]

          InterFocus Strawberries and Watermelons Graphic.                                                           VA0002120634 2018
[ 482 ]
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          InterFocus Black Unicorns White Background Textile Design.                                                  VA0002124725 2018
[ 483 ]

          InterFocus Black Unicorns Pink Background Textile Design.                                                   VA0002124724 2018
[ 484 ]
        InterFocus 2018PATPAT_Published_0523-0607. [Group registration of published photographs. 446 photographs.
                                                                                                                      VA0002106207 2018
[ 485 ] Inc        2018-05-23 to 2018-06-07]
                   U0505-01-01, U0505-01-02, U0505-01-03, U0505-01-04, U0505-01-05, U0505-02-01, U0505-02-02,
        InterFocus
                   U0505-02-03, U0505-03-01, U0505-03-02, U0505-04-01, U0505-04-02, U0506-01-01, U0506-01-02,         VAu001320283 2018
[ 486 ] Inc
                   U0506-01-03, U0506-02-01, U0506-02-02, U0506-02-03, U0506-02-04, U0506-02
        InterFocus 2018PATPAT_Published_0507-0524. [Group registration of published photographs. 730 photographs.
                                                                                                                      VA0002107959 2018
[ 487 ] Inc        2018-05-07 to 2018-05-24]
        InterFocus 2018PATPAT_Published_0525-0530. [Group registration of published photographs. 104 photographs.
                                                                                                                      VA0002107977 2018
[ 488 ] Inc        2018-05-25 to 2018-05-30]

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